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litigation and defend the privilege which he holds. See United States v. Martoma, 962 F. Supp.

2d 602, 605-06 (S.D.N.Y. 2013) (“[I]t is settled law that persons affected by the disclosure of

allegedly privileged materials may intervene in pending criminal proceedings … A third party’s

reasonable assertion of privilege with respect to documents to be produced in a criminal action is

sufficient grounds on which to grant the third party’s motion to intervene and consider the merits

of that party’s application.”) (collecting cases); United States v. Jesenik, 2020 WL 7406531, *5

(D. Or. Dec. 17, 2020); cf. In re Sealed Case, 737 F.2d 94, 98 (D.C. Cir. 1984) (recognizing that

Perlman doctrine permits non-party standing to appeal claim of privilege); Perlman v. United

States, 247 U.S. 7 (1918).

       For the foregoing reasons, Tech Executive-1 requests the Court grant him leave to

intervene for the limited purpose of defending the applicability of the attorney-client privilege to

certain communications identified by the Government and submitting the attached Opposition

(Exhibit A).

Dated: April 18, 2022                                 Respectfully submitted,


                                                      /s/ Steven A. Tyrrell
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2022, I caused the foregoing to be filed and served via

electronic mail upon all counsel of record:


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